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8                                  UNITED STATES DISTRICT COURT

9                               NORTHERN DISTRICT OF CALIFORNIA
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11
      Social Technologies LLC,
12                                                       No. 18-cv-05945-VC (SK)
                Plaintiff,
13                                                       STIPULATION AND [PROPOSED] ORDER
          v.                                             TO MODIFY SCHEDULING ORDER
14
                                                          AS MODIFIED
15    Apple Inc.

16              Defendant.

17
               Pursuant to Local Rule 6-2 and this Court’s Civil Standing Order, the parties hereby
18

19   stipulate and request that the Court order that the scheduling order entered on January 8, 2019

20   (Dkt. No. 53) be modified as follows:
21
         Event                    Previous Deadline      Proposed Deadline      Extension Time
22
         Close of Fact            June 4, 2019           July 2, 2019           4 weeks
23       Discovery
         Opening Expert           July 2, 2019           July 31, 2019          4 weeks, 1 day
24       Reports
         Rebuttal Expert          August 9, 2019         August 30, 2019        3 weeks
25       Reports
26       End of Expert            August 29, 2019        September 13, 2019     2 weeks, 1 day
         Discovery
27                                        –1–
                    STIPULATION AND [PROPOSED] ORDER TO MODIFY CASE
28
                                  MANAGEMENT ORDER
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1         Brief 1               September 13, 2019      October 3, 2019          2 weeks, 6 days
          Brief 2               October 10, 2019        October 30, 2019         2 weeks, 6 days
2         Brief 3               October 24, 2019        November 13, 2019        2 weeks, 6 days
3         Brief 4               November 7, 2019        November 26, 2019        2 weeks, 5 days
          Cross Dispositive     November 21, 2019       December 12, 2019        3 weeks
4         Motion Hearing
          Final Pretrial        January 27, 2020        January 27, 2019        None
5         Conference                                                 2020
          Jury Trial            February 10, 2020       February 10, 2019       None
6
                                                                      2020
7           “The district court is given broad discretion in supervising the pretrial phase of

8    litigation.” Johnson v. Mammoth Recreations, Inc., 975 F. 2d 604 (9th Cir. 1992) (citation and
9    internal quotation marks omitted). Rule 16(b) of the Federal Rules of Civil Procedure provides
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     that “[a] schedule may be modified only for good cause and with the judge’s consent.” Fed. R.
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     Civ. P. 16(b)(4). “The schedule may be modified ‘if it cannot reasonably be met despite the
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     diligence of the party seeking the extension.’” Zivkovic v. Southern California Edison Co., 302
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14   F. 3d 1080, 1087 (9th Cir. 2002) (quoting Johnson, 975 F. 2d at 607).

15          The parties have not made any previous requests for deadline extensions, and the parties

16   continue to treat the trial date as firm. Further, good cause exists for this extension. The parties
17   prioritized preparation for the settlement conference that took place on March 4, 2019. While
18
     the parties did not settle at that time, the parties have been proceeding in discovery. The parties
19
     are attempting to schedule several depositions, including fact witnesses and corporate
20
     representatives, and to finalize document discovery. Several witnesses are unavailable until the
21
22   middle or end of June for deposition, and witnesses are located throughout the country. The

23   purpose of the extension is to allow the parties time for depositions, and to adjust subsequent
24   deadlines as necessary to accommodate the extension for completing depositions and document
25
     production. The parties agree that there will be no further written discovery requests between the
26
     parties. This agreement does not limit the parties’ rights to demand the production of documents
27                                                 –2–
                  STIPULATION AND [PROPOSED] ORDER TO MODIFY CASE
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                                       MANAGEMENT ORDER
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1    previously requested but identified during depositions or through document productions as

2    having not been produced or move to compel documents from one another. The parties further
3
     agree that they will substantially complete their document productions and produce their
4
     respective privilege logs by June 7, 2019.
5
            For these reasons, the parties ask the Court to extend the discovery, expert, and
6
     dispositive motion deadlines as set forth above.
7
8                                                         Respectfully submitted,

9    DATED: May 31, 2019                                  PIERCE BAINBRIDGE BECK
                                                          PRICE & HECHT LLP
10
11
                                                          By: /s/ David L. Hecht
12                                                           David L. Hecht (admitted pro hac vice)
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13                                                           277 Park Avenue, 45th Floor
                                                             New York, New York 10172
14                                                           Telephone: (212) 484-9866
                                                             Attorneys for Plaintiff Social
15                                                           Technologies LLC

16   DATED: May 31, 2019                                  KIRKLAND & ELLIS LLP
17
18                                                        By: /s/ Diana M. Torres
                                                             Diana M. Torres (S.B.N. 162284)
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                                                             Telephone: (213) 680-8400
21
                                                             Attorneys for Defendant Apple Inc.
22
     IT IS SO ORDERED.
23
     Dated: ___________,
             June 10     2019
24
25                                                        _______________________
                                                          HON. VINCE CHHABRIA
26                                                        UNITED STATES DISTRICT JUDGE
27                                      –3–
                  STIPULATION AND [PROPOSED] ORDER TO MODIFY CASE
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                                MANAGEMENT ORDER
